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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

KAFI, INC.,                                                     §
                                                                §
         plaintiff,                                             §
                                                                §
v.                                                              §        Case 4:21-cv-01610
                                                                §
FEDERAL NATIONAL MORTGAGE                                       §
ASSOCIATION, et al.,                                            §
                                                                §
         defendants.                                            §

     DEFENDANTS FANNIE MAE AND NEW RESIDENTIAL MORTGAGE, LLC'S
            OPPOSITION TO KAFI, INC.'S MOTION TO CONTINUE

         Kafi fails to make even a prima facie showing it is entitled to discovery before this court

rules on Fannie Mae and New Residential's summary judgment motion. Kafi's sole argument is it

needs "discovery regarding the relationship between Cendant and PHH." This information is

publicly available and equally accessible to Kafi. See e.g., Johnson v. Fannie Mae, No. 2:12-cv-

00452, 2013 WL 3819365, *3 (W.D. Mich. Jul. 23, 2013) ("[p]ublic records . . . show that Cendant

Mortgage simply changed its name to PHH Mortgage when Cendant Corporation-the parent of

PHH Mortgage spun off its subsidiary-Cendant Mortgage-to Cendant Corporation shareholders.")

(McKleroy decl. at ¶ 3, ex. F; am. cert. of incorp., ex. F-1.) Further, the information sought by

Kafi will not affect the outcome of Fannie Mae and New Residential's motion. Any claim

regarding the assignment executed by PHH is not properly before the court. Even if it was, Kafi

lacks standing to challenge the assignment. Even if Kafi could challenge the assignment, a

successful challenge would not affect the validity of the deed of trust or Fannie Mae's right to

enforce it as the owner and holder of the note. Kafi's motion is nothing more than a fishing

expedition to delay consideration of Fannie Mae and New Residential's motion.


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                                I.       ARGUMENTS & AUTHORITIES

A.       Information regarding Cendant and PHH's relationship is publicly available.

         1.       There is no need for the proposed discovery because the information sought is

publicly available and equally accessible to Kafi. FTC v. Think All Pub., LLC, No. 4:07-CV-011,

2008 WL 687456, at *2 (E.D. Tex. Mar. 11, 2008) (sustaining objection to discovery requesting

"public records . . . equally accessible to both parties because [the discovery could] be retrieved

through a search of the FTC's website"); see also Eschelman v. Puma Biotechnology, Inc., No.

7:16-CV-18-D, 2018 WL 1702773, at *6 (E.D. N.C. Apr. 6, 2018) ("However, courts typically do

not order discovery of public records which are equally accessible to all parties.") (citing Taylor

v. McGill Envtl. Sys. of N.C., Inc., No. 7:13-CV-270-D, 2015 WL 1125108, at *10 (E.D. N.C. Mar.

12, 2015) (citing SEC v. Strauss, No. 09-CIV-4150-RMB/HBP, 2009 WL 3459204, at *11 (S.D.

N.Y. Oct. 28, 2009) ("Courts have declined to compel production of documents in the hands of

one party when the material is equally available to the other party from another source.")).

         2.       With minimal effort—which Kafi should have done before filing this lawsuit if it

really had an issue with the assignment—Kafi will discover "[p]ublic records . . . show that

Cendant Mortgage simply changed its name to PHH Mortgage when Cendant Corporation-the

parent of PHH Mortgage spun off its subsidiary-Cendant Mortgage-to Cendant Corporation

shareholders." Johnson v. Fannie Mae, supra, 2013 WL 3819365, at *3; see also PHH Mortg.

Corp. v. Ashtiani, No. 5-17-0060, 2019 Il App. (5th) 170060-U at fn.1 (2019) ("PHH Mortgage

Services Corporation was incorporated in 1985 in New Jersey. The articles of incorporation were

amended on December 19, 1997, to include a name change from PHH Mortgage Services

Corporation to Cendant Mortgage Corporation. On February 1, 2005, a second amendment

changed the name from defendant Mortgage Corporation to PHH Mortgage Corporation."); James

v. PHH Mortg. Corp., No. 1:17-cv-1890, 2017 WL 11144695, * (N.D. Ga. Jul. 31, 2017) ("since
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Cendant merely changed its name to PHH, no assignment of the Security Deed was necessary for

Defendant to obtain Cendant's rights under the instrument.")

         3.       The Texas Secretary of State's records contain the same information. (McKleroy

decl. at ¶ 4, ex. F; am. cert. of incorp., ex. F-1.)

B.       Proposed discovery is not material to outcome of case.

         4.       To obtain a continuance to conduct discovery, Kafi is required to demonstrate "how

additional discovery will create a genuine issue of material fact." Canady v. Bossier Par. Sch. Bd.,

240 F.3d 437, 445 (5th Cir. 2001) (citation omitted). Kafi "must 'set forth a plausible basis for

believing that specified facts, susceptible of collection within a reasonable time frame, probably

exist and indicate how the emergent facts, if adduced, will influence the outcome of the pending

summary judgment motion.'" Am. Family Life Assurance Co. v. Biles, 714 F.3d 887, 894 (5th Cir.

2013) (quoting Raby v. Livingston, 600 F.3d 552, 561 (5th Cir. 2010)). The information sought

by Kafi will not affect the outcome of this case.

         (i)      Any claim regarding the assignment's validity is improperly before the court.

         5.       Kafi's attempt to challenge the November 6, 2020 assignment is improper. The

only claim Kafi asserts in its petition regarding assignments is "there is no complete and unbroken

chain of assignments and transfers of the loan or loan documents from the original lender, Banco

Popular, to New Residential." (pet. at ¶ 18, dkt. 1-2.) Kafi "cannot raise new claims for the first

time in a response to a motion for summary judgment." Croteau v. CitiMortgage, Inc., No. 4:12-

CV-693, 2014 WL 119968, at *15 (E.D. Tex. Jan. 13, 2014); see also U.S. ex rel. DeKort v.

Integrated Coast Guard Systems, 475 F. App'x 521, 522 (5th Cir. 2012) ("[T]he Supreme Court

has mandated a liberal pleading standard for civil complaints . . . This standard however does not

afford plaintiffs with an opportunity to raise new claims at the summary judgment stage . . . At the


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summary judgment stage, the proper procedure for plaintiffs to assert a new claim is to amend the

complaint in accordance with Fed. R. Civ. P. 15(a).")

         (ii)     Kafi lacks standing to challenge the assignment.

         6.       Even if Kafi's claim regarding the November 6, 2020 assignment is properly before

the court, it is not the sort of challenge Kafi has standing to raise because Fannie Mae and New

Residential established an unbroken, recorded chain of assignments from Banco Popular, N.A. to

Shellpoint. (msj at ¶ 3, dkt. 7.) Farkas v. GMAC Mortgage LLC, No. H-11-3064, 2012 WL

13050595, at *6 (S.D. Tex. Sept, 26, 2012) ("It is well settled that persons who were not a party

to assignments or to agreements governing assignments lack standing to challenge the validity of

a documented, unbroken chain of transfers of rights") (collecting cases). Kafi can only challenge

the assignment as void, not merely voidable. Reinagel v. Deutsche Bank National Trust Co., 735

F.3d 220, 225 (5th Cir. 2013). Even if PHH did not have the authority to execute the November

6, 2020 assignment, lack of authority would only render the assignment voidable. Id. at 226.

         (iii)    Successful challenge to assignment will make no difference.

         7.       Kafi sues for a declaration the deed of trust is void and to quiet its title to the

property. (pet. at ¶¶ 18(a); 27-31, dkt. 1-2.) Establishing the November 6, 2020 assignment was

voidable (or even void) will not advance either claim. See e.g., Morlock, LLC v. JPMorgan Chase

Bank, N.A., No. CIV-A-H-13-0734, 2013 WL 5781240, at *11 (S.D. Tex. Oct. 25, 2013), aff'd

(July 8, 2014) (quiet title claim by homeowners association sale purchaser dismissed because it

did not properly contest, or suggest its own interest is superior to, lender's deed of trust and instead

merely challenged the assignment of the deed of trust).

         8.       Even if Kafi is simply trying to obtain a judgment Fannie Mae cannot enforce the

deed of trust, this claim too fails because Kafi does not dispute Fannie Mae is the owner and holder


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of the note. Everbank, N.A. v. Seedergy Ventures, Inc., 499 S.W.3d 534, 541 (Tex. App.—Houston

[14th Dist.] 2016, no pet.) ("[B]ecause the rule in Texas is that the mortgage follows the note,

[Fannie Mae] would be entitled to foreclose on the property as holder of the note even if the

assignment of the deed of trust was void.") (msj at ¶ 16, dkt. 7; Gonzales decl. at ¶ 6, ex. A.)

         9.       Kafi's reliance on Green v. Green Tree Servicing, LLC, 230 So.3d 989 (Fla. 5th

Dist. 2017) is misplaced. There was no merger between PHH and Cendant. Even if there was,

Florida foreclosure law does not apply to a Texas foreclosure.

                                            II.      CONCLUSION

         Kafi does not need, and is not entitled to, discovery. It could have easily obtained the

information sought without conducting discovery, and the information will make no difference to

the outcome of Fannie Mae and New Residential's motion.

Date: September 17, 2021                                        Respectfully submitted,


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                                       CERTIFICATE OF SERVICE

         A true and correct copy of this document was served on September 17, 2021 as follows:

Jeffrey C. Jackson
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VIA ELECTRONIC CASE FILE


                                                                /s/ Michael J. McKleroy, Jr.
                                                                Michael J. McKleroy, Jr.




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